760-B Sliverberry Circle SE, Kirtland, NM 87116

Rifles:

 

1.

10.

11.

12.

AREO industries, Model X-15

S/N: X167445

Romero 4T Scope, Streamlight ProTec; One magazine
AREO Industries, Model mX-15

S/N: X240058

Trijicon ACOG Sight, SureFire light

Hi-Point, Model 1095, 10 mm Auto

S/N: M08843

TruGlo Sight, three (3) magazines (with ammo)
Palmetto, PA-17, Model Grendel Hunter

S/N: HP060245

Butler Creek Scope, Bi-Pod, One 921) magazine (with ammo)
Palmetto, M4 Al carbine, 5.56mm caliber

S/N: WO09511

Sparc Scope, two lighting systems,

Savage, Model 93R17, .17 H.M.R. caliber

S/N: 3063110

Weaver Scope, One (1) magazine (with ammo)
Century Arms, Model Sporter .308 caliber

S/N: C49256

One (1) magazine (with ammo)

PW Arms, Model M9/30, 7.62 X 54R (Russian)

S/N: RMNO1195166

Bolt #: TT9321

Marlin, Model 795, .22 caliber

S/N: MM70948I

Pursuit Scope

Eagle Arms, 12 ga.

S/N: MV0057782

Scope and light system (with ammo on stock sleeve)
Eagle Arms, Eagle 15

S/N: M22-12836

Bi-Pod

Brownells, little Badger, .22 LR

S/N: 18N02661

Scope, Folding Stock and an attached suppressor (from vehicle and at OS! office)

Page 1 of 3
Pistols:

Glock, Model 19, Gen 5

S/N: BHHE161

Two (2) magazines and holster

Smith & Wesson, M & P Shield

S/N: HKH5738

Two (2) magazines and holster

CZ, Model P09

S/N: C146999

Steamlight and one (1) magazine

Ruger, LC 9S

S/N: 53-04973

One (1) magazine

Heritage, Rough Rider, .22 LR caliber Revolver
S/N: Y01864

Two cylinders (In a wooden presentation box)

Suppressors:

1.
2.

Suppressors (3 ea. from residence)
Suppressor (1 ea. attached to the Brownells, Little Badger)

Electronics:

1.

ONO

Dell Inspiron Laptop, 15-R

Silver, with Power Cord

HP Laptop

S/N: 5CG44724D8

Silver with Clay colored back cover
Windows tablet

With Keyboard, Black

Apple iPhones (2 ea.)

Samsung Cell Phone (1 ea.)

Western Digital (WD) External hard Drives (2 ea.)
Thumb Drives (12 ea.)

Samsung Micro SD Card EVD, 64GB
Removed from GoPro Hero Pro 3 Plus
Lexar Micro SC Card, 16 GB

Page 2 of 3
